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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

ANTHONY PERRY,                       )
                                     )
                      Plaintiff,     )
                                     )
               v.                    )                  Civil Action No. 17-1932 (TSC)
                                     )
WILBUR ROSS,                         )
United States Secretary of Commerce, )
                                     )
                      Defendant.     )
____________________________________ )
DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANT’S CROSS-
                MOTION FOR SUMMARY JUDGMENT

        Defendant hereby responds to Plaintiff’s memorandum in opposition to Defendant’s cross-

motion for summary judgment. Plaintiff not only fails to respond to Defendant’s arguments in

support of dismissal for lack of jurisdiction, but in doing so, he also fails to heed this Court’s clear

instruction to brief the issue of jurisdiction rather than address the merits of his claims at this time.

For that reason, Defendant respectfully requests that the Court dismiss this case in its entirety.

Plaintiff’s opposition contains two main arguments, each of which Defendant will address in turn.

        First, with respect to Plaintiff’s argument that “Mixed-Cases Dismissed At [Merit System

Protection Board (“MSPB”)] For Lack Of Jurisdiction Receive Judicial Review In The District

Court[,]” Pl’s Opp. at 10-16, Plaintiff has failed to adequately respond to Defendant’s argument

that the MSPB had properly found that it lacked jurisdiction because substantial record evidence

showed that Plaintiff voluntarily accepted his suspension and resignation. See Def’s Mot. at 7-9.

The only semblance of a response to that argument is Plaintiff’s assertion that the MSPB ALJ

“denied material and relevant witnesses and evidence in the administrative proceeding before it.”

Pl’s Opp. at 12. More specifically, Plaintiff asserts that his supervisors and the author of the

proposed removal were denied from testifying. Id. But Plaintiff makes no assertion about why
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such witnesses would have had relevant testimony to provide at the hearing before the MSPB.

Accordingly, the Court should reject Plaintiff’s opposition and dismiss the case.

       Second, with respect to Plaintiff’s argument that “Nonfrivolous Allegations In a Mixed

Case Satisfy Jurisdictional Requirements[,]” Pl’s Opp. at 16-28, Plaintiff again hardly responds to

Defendant’s argument that the MSPB properly declined to order a jurisdictional hearing on

Plaintiff’s claim that the agency knew it could not substantiate his proposed removal because such

claim did not constitute a nonfrivolous allegation of coercion. See Def’s Mot. at 10-11. Notably,

Defendant pointed out that Plaintiff had proffered reasons as to why he believes that the agency

could not substantiate its charges (i.e., the agency allegedly did not submit evidence contradicting

his claim that he was working under a flexible schedule to accommodate a disability and the agency

had incorrectly charged the amount of time for which he had received pay while not working). Id.

But Defendant further noted that Plaintiff still failed to address the reasons the MSPB found the

agency believed its charges could be substantiated. Id. Plaintiff’s opposition offers nothing more

than the same proclamations that the agency could not contradict his claim that he was working

under a flexible schedule and had incorrectly charged time. See Pl’s Opp. at 17, 19-22, 24, 26.

       The only semblance of a response to the reasons that the MSPB found the agency believed

its charges could be substantiated is Plaintiff’s response to Charge 2 concerning his failure to

follow his supervisor’s directive to sign an attendance log. Pl’s Opp. at 27-28; Def’s Mot. at 11.

Plaintiff, however, merely asserts that the implementation of such log was “immaterial” and

attempts to justify why he did not use the log until he received an explanation from his supervisor.

Pl’s Opp. at 27. But the fact that he would not follow instructions to use the attendance log until

after he received an explanation from his supervisor is the very reason the MSPB emphasized in

explaining why it found the agency believed it could substantiate its charges. Def’s Mot. at 11.



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Because Plaintiff’s opposition hardly undermines that conclusion, the Court should reject such

opposition and dismiss his case.

Dated: April 19, 2019                             Respectfully submitted,

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                                                  United States Attorney

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